        Case 1:23-cr-00040-SPW Document 87 Filed 06/12/23 Page 1 of 3



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION


 UNITED STATES OF AMERICA,                      CR 23-40-BLG-SPW


                          Plaintiff,
                                                PRELIMINARY ORDER OF
           vs.                                  FORFEITURE


 CAMILLE ANN ROUNDS,

                          Defendant.




      WHEREAS,in the indictment in the above case, the United States sought

forfeiture ofany property ofthe above-captioned person, pursuant to 21 U.S.C. §

853(a)(1) and (2), 21 U.S.C. § 881(a)(ll), and 18 U.S.C. § 924(d) as property used

or intended to be used to facilitate the violations alleged in the indictment, or as

proceeds of said violation;

      And whereas, on May 18, 2023,the defendant entered a plea of guilty to

counts 4 and 6 ofthe indictment, which charged her with possession of

methamphetamine with intent to distribute and possession of a firearm in

furtherance of a drug trafficking crime;
Case 1:23-cr-00040-SPW Document 87 Filed 06/12/23 Page 2 of 3
Case 1:23-cr-00040-SPW Document 87 Filed 06/12/23 Page 3 of 3
